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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

                                               §
                                               §
  WSOU INVESTMENTS, LLC d/b/a,                 §
    BRAZOS LICENSING AND                       §
        DEVELOPMENT                            §        Civil Case No. 6:20-cv-580-ADA
                                               §
                 Plaintiff,                    §          JURY TRIAL DEMANDED
                    v.                         §
                                               §
             GOOGLE LLC,                       §
                                               §
                Defendant.                     §
                                               §
___________________________________
JOINT MOTION FOR ISSUANCE OF LETTER OF REQUEST FOR INTERNATIONAL
  JUDICIAL ASSISTANCE AND APPOINTMENT OF COMMISSIONERS TO TAKE
     EVIDENCE PURSUANT TO CHAPTER II, ARTICLE 17 OF THE HAGUE
 CONVENTION OF 18 MARCH 1970 ON THE TAKING OF EVIDENCE ABROAD IN
                   CIVIL OR COMMERCIAL MATTERS

       The parties in the above-referenced actions seek the Court’s assistance in order to take

deposition testimony from witness Manuel Tragut in Switzerland. Manuel Tragut is a witness who

will offer testimony relevant to this action. The parties have agreed to conduct the deposition of

Manuel Tragut in Switzerland, but the parties must first meet certain foreign discovery conditions

pursuant to the Hague Convention.

       Switzerland, as a party to the Hague Convention, requires litigants to obtain permission from

the Federal Office of Justice before taking deposition testimony of a witness located in Switzerland.

To obtain such permission, the parties must have a United States District Court (1) appoint a Swiss

commissioner and appoint representatives for the parties who will participate in the deposition as

commissioners, and (2) request judicial assistance from the applicable Swiss authorities.

       To that end, the parties request that the Court grant this Joint Motion for Issuance of Letter

of Request for International Judicial Assistance and Appointment Of Commissioners to Take
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Evidence Pursuant to Chapter II, Article 17 of The Hague Convention of 18 March 1970 on the

Taking of Evidence Abroad in Civil or Commercial Matters. The parties have agreed that Olivier

Buff will be appointed Swiss Commissioner. The parties have also agreed that Greg Lanier, Sasha

Mayergoyz; Tracy Stitt, Michael Lavine, Rita Yoon, Edwin Garcia, Matt Warren, Jen Kash, and

Erika Warren, will be appointed commissioners for Google; and Joseph M. Abraham, Timothy

Dewberry, Cliff Win, Jr., Alden Lee, Gregory P. Love, Mark D. Siegmund, and Melissa S. Ruiz will

be appointed commissioner for WSOU Investments, LLC d/b/a Brazos License and Development.

       Accordingly, WSOU Investments, LLC d/b/a Brazos License and Development (“Brazos”)

and Google LLC (“Google”) move the Court, pursuant to Fed. R. Civ. P. 28(b), for entry of an order

(the “Order”):

           1) Appointing Greg Lanier, Sasha Mayergoyz; Tracy Stitt, Michael Lavine, Rita Yoon,

                 Edwin Garcia, Matt Warren, Jen Kash, and Erika Warren on behalf of Google and

                 Joseph M. Abraham, Timothy Dewberry, Cliff Win, Jr., Alden Lee, Gregory P. Love,

                 Mark D. Siegmund, and Melissa S. Ruiz on behalf of Brazos, as commissioners

                 (together, the “Commissioners”), pending the approval of the Swiss authorities, to

                 conduct the examination of witness Manuel Tragut in Switzerland pursuant to

                 Chapter II, Article 17 of the Hague Convention of 18 March 1970 on the Taking of

                 Evidence Abroad in Civil or Commercial Matters, T.I.A.S. No. 7444, 23 U.S.T. 2555

                 (“Chapter II of the Hague Convention”);

           2) Appointing Olivier Buff as commissioner (the “Swiss Commissioner”), pending the

                 approval of the Swiss authorities, to supervise the examination of witness Manuel

                 Tragut in Switzerland pursuant to Chapter II of the Hague Convention;




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           3) Issuing a Letter of Request for International Judicial Assistance (“Letter of Request”)

               pursuant to 28 U.S.C. § 1781 and Chapter II of the Hague Convention;

           4) Directing submission of the Letter of Request for Assistance to the Swiss Federal

               Office of Justice (“FOJ”) via the Cantonal Court of Zurich for the purpose of

               approving the appointment of the Commissioner; and

           5) Granting such other and further relief as this Court may deem just and proper.

       The parties have agreed to use the procedures of Chapter II of the Hague Convention to

facilitate the deposition of Manuel Tragut in Switzerland, who has consented to being deposed there

via remote means. Under Chapter II, a deposition is supervised by a Swiss Commissioner and

conducted by commissioners representing the parties and duly appointed by the Court in the U.S.

proceeding, all of whom are authorized to proceed by the FOJ at the request of the U.S. tribunal.

This procedure will not restrict the scope of discovery otherwise permissible under the Federal Rules

of Civil Procedure.

       The steps to proceed under Chapter II of the Hague Convention are as follows:

       1. The Court must duly appoint one or several commissioner(s) for the purpose of taking

           evidence abroad. A proposed order for the Court to appoint commissioners is attached

           hereto as Exhibit A (the “Proposed Order”).

       2. The Court must issue a Letter of Request to the FOJ for authorization to take evidence

           abroad. A proposed Letter of Request is attached hereto as Exhibit B (the “Proposed

           Letter of Request”).

       3. The necessary application for authorization (the “Swiss Application”), with the Proposed

           Order and the Proposed Letter of Request attached to it, must be filed with the FOJ via

           the Central Authority in the canton where the evidence is to be taken, i.e., the High Court




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           of the Canton of Zurich, International Judicial Assistance, Hirschengraben 13/15, 8021

           Zurich, Switzerland. 1 Google will undertake this step if the Court grants the instant

           motion.

       4. Upon approval from the FOJ and subject to the terms contained in the Proposed Letter

           of Request and/or the Swiss Application, the parties will arrange for the deposition.

           Olivier Buff will be present in person, or if required remotely, at the deposition of Manuel

           Tragut to supervise proceedings.

       5. The deposition will take place at the Swiss offices of Quinn Emanuel at Dufourstrasse

           29, 8008 Zurich, Switzerland or, if required, from another location in the canton of

           Zurich, Switzerland. Manuel Tragut has agreed to voluntarily comply by proceeding

           pursuant to Chapter II of the Hague Convention.

       6. Neither the entry of the Proposed Order, the Proposed Letter of Request, the submission

           of the Swiss Application nor the conduct of the deposition pursuant to Chapter II of the

           Hague Convention shall constitute or operate as a waiver of the attorney-client privilege,

           the work product doctrine, or any other privileges, rights, protections, or objections that

           may apply to that evidence under the laws of Switzerland, or of the United States, nor as

           a concession that any assertion of any such privilege, right, protection, or objection is

           necessarily valid.




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 The application is sent to the competent Central Authority, i.e., the High Court of the Canton of
Zurich, International Judicial Assistance, Hirschengraben 13/15, 8021 Zurich, Switzerland. After
examining the Request, the Central Authority will forward the application to the FOJ.


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Dated: February 06, 2023                          Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing was electronically filed with the Clerk
of Court using the CM/ECF system, which will send a notification of such filing (“NEF”) to all
counsel of record who have appeared in this case per Local Rule CV-5(b) on February 06, 2023.
                                                     /s/ Michael E. Jones
                                                     Michael E. Jones




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